Case 1:21-cr-00328-DKC Document 1-1 Filed 08/24/21 Page 1 of 16

IKMcD: USAQ#2020R00375
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA
CRIMINAL no LA Cr QE
v. (Conspiracy to Commit Wire Fraud, 18
U.S.C. §1349; Wire Fraud, 18 U.S.C.
STEPHEN L. FRANKLIN and § 1343; Identity Theft, 18 U.S.C.
DUANE G. LARMORE, § 1028A; Forfeiture).
Defendants.
INDICTMENT
The Grand Jury for the District of Maryland charges: }
COUNT ONE ye
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At all times material to this Indictment: : / /
| /\\
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1. Shore Appliance Connection (hereafter “Shore Appliance”), 307A Civic Avenue, .

Salisbury, Maryland, was a Maryland corporation owned by Owner #1 and Owner #2. Shore
Appliance sold household appliances such as kitchen appliances, heating and air conditioning
units, grills, washers and dryers as well as mattresses and bedding. Owner #1 and Owner #2
were the directors of Shore Appliance, and Owner #1 was its president.

2. Owner #1 and Owner #2 brought DUANE G. LARMORE (hereafter
"LARMORE") into their business as an employee and asked him to maintain the books and
records of Shore Appliance because LARMORE had an accounting degree.

3. Shore Appliance had its bank accounts ending in ***0406 and ***1301 at Hebron
Savings Bank, 1008 W. Main Street, Salisbury, Maryland and lines of credit with Hebron
Savings Bank and the Farmers Bank of Willards. LARMORE was neither a corporate officer
nor an owner of Shore Appliance; LARMORE was added as a signatory on Shore Appliance's

bank accounts when he began maintaining the books and records of Shore Appliance.

1
Case 1:21-cr-00328-DKC Document 1-1 Filed 08/24/21 Page 2 of 16

4. STEPHEN L. FRANKLIN (hereafter "FRANKLIN") was the chief executive
officer of Accurate Optical, headquartered in Salisbury, Maryland. Accurate Optical had a
number of locations on the Eastern Shore of Maryland and offered eye examinations, fittings of
contact lenses, eyeglasses, and related services.

3. FRANKLIN was also the chief executive officer and part owner of East Coast
Optometric. East Coast Optometric had a number of locations in South Carolina and offered eye
examinations, fittings of contact lenses, eyeglasses, and related services.

6. As of fall 2016, East Coast Optometric and Accurate Optical had bank accounts at

Bank of America, 300 Tilghman Road, Salisbury, Maryland 21804.

THE SCHEME TO DEFRAUD

a From in and around September 2016 and continuing until in and around March
2020, in the District of Maryland and elsewhere, the defendants,

STEPHEN L. FRANKLIN and
DUANE G. LARMORE,

and others known and unknown to the Grand Jury, knowingly and willfully devised and intended
to devise a scheme and artifice to defraud Shore Appliance, Owner #1, and Owner #2 and to
obtain money and property from Shore Appliance, Owner #1, and Owner #2 by means of
materially false and fraudulent pretenses, representations and promises ("the Scheme to

Defraud.")
Case 1:21-cr-00328-DKC Document 1-1 Filed 08/24/21 Page 3 of 16

THE CONSPIRACY TO COMMIT WIRE FRAUD

8. From in and around September 2016 and continuing until in and around March
2020, in the District of Maryland and elsewhere, the defendants,

STEPHEN L. FRANKLIN and
DUANE G. LARMORE,

and others known and unknown to the Grand Jury, did knowingly and willfully conspire,
combine, confederate, and agree with each other and with other persons known and unknown to
the Grand Jury, to commit wire fraud, that is to knowingly execute and attempt to execute the
scheme to defraud through the use of interstate and foreign wires in violation of Title 18, United

States Code, Section 1343.

THE PURPOSE OF THE CONSPIRACY AND SCHEME TO DEFRAUD

9. The purpose of the conspiracy and scheme to defraud was
(a) for FRANKLIN and LARMORE, the co-schemers and co-conspirators, to take in
excess of $900,000 belonging to Shore Appliance and without the knowledge and consent of
Owner #1 and Owner #2, to use these funds for the purposes of FRANKLIN and LARMORE
including:

(1) to make investments chosen by FRANKLIN and LARMORE; and

(2) to provide funds belonging to Shore Appliance to FRANKLIN for his purposes
including the business expenses of Accurate Optical and East Coast Optometric; and
(b) for FRANKLIN and LARMORE, the co-schemers and co-conspirators, to fund and
conceal their illegal use of funds belonging to Shore Appliance by

(1) using the identities of Owner #1 and Owner #2 to enter into factoring contracts

purportedly between Shore Appliance and various factoring companies, which provided cash
Case 1:21-cr-00328-DKC Document 1-1 Filed 08/24/21 Page 4 of 16

deposits to Shore Appliance's bank accounts but which required, in initial and continuing
payments, funds in excess of $725,000, and encumbered the accounts receivable of Shore
Appliance and

(2) drawing on Shore Appliance's lines of credit with Hebron Savings Bank and
Farmers Bank of Willards to deposit $200,000 into Shore Appliance's bank accounts to provide

cash, which required additional interest payments to the banks.

MANNER AND MEANS OF THE CONSPIRACY and SCHEME TO DEFRAUD

It was a part of the Manner and Means of the Conspiracy and Scheme to Defraud that:

10. FRANKLIN looked for various investment opportunities for LARMORE such as
(a) in 2016, a $100,000 investment with T.H.; a $95,000 investment with GenFinance II, PLC,
London, U.K., which then required an additional $300,000; and then additional funds for a surety
bond and travel abroad;
(b) in 2018, an investment through W.S. of $35,000 and an investment through J.B. of $50,000;
and
(c) in 2019 - 2020, investments and expenses through I.P. and E. P.-S. to obtain U.S. currency
purportedly returned to the United States from humanitarian relief projects abroad, and other
similar investments.
These investments never earned any money.

i. The $95,000 investment with GenFinance II, PLC, was purportedly for the lease
of a $40 million Standby Letter of Credit ("SBLC") issued by Barclays Bank, London, for the
benefit of Simpatrans Oil & Gas, Ltd., which purportedly had an account at Raiffeisen Bank,

S.A, in Romania. The SBLC was intended to fund the purchase of oil from Simpatrans which
Case 1:21-cr-00328-DKC Document 1-1 Filed 08/24/21 Page 5 of 16

would be stored in a tank in The Netherlands and then brought by tanker ship to the United
States for sale. The $95,000 investment was promised to return $1.2 million monthly beginning
in the third month after the investment.

12. Neither FRANKLIN nor LARMORE had sufficient personal funds to make
these investments; however, because of LARMORE's position of trust with Shore Appliance
and LARMORE's signature authority over Shore Appliance's bank accounts, LARMORE and
FRANKLIN used Shore Appliance's cash, its lines of credit with the Farmer's Bank of Willards
and Hebron Bank, and funds obtained through factoring contracts pledging Shore Appliance's
accounts receivable to make the investments.

JA. LARMORE, without the knowledge or permission of Owner #1 and Owner #2,
transferred Shore Appliance monies for investments to East Coast Optometric at its Bank of
America account, and thus into the control of FRANKLIN, or wire-transferred funds directly for
the purported investments.

14. | FRANKLIN made investments using Shore Appliance's funds by transferring
funds from East Coast Optometric to foreign bank accounts.

IS. To obtain contracts with factoring companies for Shore Appliance and to receive
cash into the bank accounts of Shore Appliance, LARMORE used his own email address,

DLarmore(@shoreappliance.com, and telephone number with factors but identified that email

address and telephone number as belonging to Owner #1. When LARMORE dealt with factors,
LARMORE provided the details of the identities of Owner #1 and Owner #2, including dates of
birth, Social Security numbers, and Maryland drivers' licenses, without their permission.

16. When factoring companies required witnessed or notarized signatures, the

signatures of Owner #1 and Owner #2 were forged, and FRANKLIN witnessed or notarized the
Case 1:21-cr-00328-DKC Document 1-1 Filed 08/24/21 Page 6 of 16

fraudulent signatures.

ry. When representatives of factoring companies wanted to speak by telephone with
Owner #1, LARMORE posed as Owner #1.

18. When representatives of factoring companies wanted to speak by telephone with
Owner #2, LARMORE asked for FRANKLIN's assistance, and FRANKLIN connected
LARMORE with Employee #1 of Accurate Optical, who posed as Owner #2.

19. When Accurate Optical and East Coast Optometric had financial problems,
FRANKLIN asked LARMORE, and LARMORE provided, funds from Shore Appliance for

FRANKLIN's companies and FRANKLIN's use.

18 U.S.C. §1349
Case 1:21-cr-00328-DKC Document 1-1 Filed 08/24/21 Page 7 of 16

COUNT TWO

The Grand Jury for the District of Maryland further charges:

1. The allegations of Count One, Paragraphs 1-7 and 9-19 are incorporated by
reference.

2. On or about October 11, 2016, in the District of Maryland, the defendants,
STEPHEN L. FRANKLIN and DUANE G. LARMORE

for the purpose of executing the scheme and artifice to defraud, transmitted and caused to be
transmitted in interstate commerce, sounds, writings, signs and symbols, namely a wire transfer
of $95,000 from the account ending in ***1301 of Shore Appliance, Hebron Savings Bank,
Salisbury, Maryland, through the Federal Reserve system to the account ending in ***0454 of
East Coast Optometric, Bank of America, Salisbury, Maryland, without the knowledge or
approval of the owners of Shore Appliance, to make an investment in the lease of a "Standby

Letter of Credit."

18 U.S.C. 8§ 2, 1343
Case 1:21-cr-00328-DKC Document 1-1 Filed 08/24/21 Page 8 of 16

COUNT THREE

The Grand Jury for the District of Maryland further charges:

1. The allegations of Count One, Paragraphs 1-7 and 9-19 are incorporated by

reference.

2. On or about October 11, 2016, in the District of Maryland, the defendants,
STEPHEN L. FRANKLIN and DUANE G. LARMORE

for the purpose of executing the scheme and artifice to defraud, transmitted and caused to be
transmitted in interstate and foreign commerce, sounds, writings, signs and symbols, namely a
wire transfer of $95,000 from the account ending in ***0454 of East Coast Optometric, Bank of
America, Salisbury, Maryland, to the account of "Jioker]s [sic] Services UK Ltd," at Barclays
Bank, London, United Kingdom to invest in a "Standby Letter of Credit" without the knowledge

or approval of the owners of Shore Appliance.

18 U.S.C. §§ 2, 1343
Case 1:21-cr-00328-DKC Document 1-1 Filed 08/24/21 Page 9 of 16

COUNT FOUR

The Grand Jury for the District of Maryland further charges:

1. The allegations of Count One, Paragraphs 1-7 and 9-19 are incorporated by
reference.

2: On or about November 7, 2016 in the District of Maryland, the defendants,
STEPHEN L. FRANKLIN and DUANE G. LARMORE

for the purpose of executing the scheme and artifice to defraud, transmitted and caused to be
transmitted in interstate commerce, sounds, writings, signs and symbols, namely a wire transfer
of $300,000 from the account ending in ***1301 of Shore Appliance, Hebron Savings Bank,
Salisbury, Maryland, through the Federal Reserve system to the account ending in ***0454 of
East Coast Optometric, Bank of America, Salisbury, Maryland, without the knowledge or

approval of the owners of Shore Appliance, to make a further investment.

18 U.S.C. §§ 2, 1343
Case 1:21-cr-00328-DKC Document 1-1 Filed 08/24/21 Page 10 of 16

COUNT FIVE

The Grand Jury for the District of Maryland further charges:

I. The allegations of Count One, Paragraphs 1-7 and 9-19 are incorporated by
reference.

2. On or about November 7, 2016, in the District of Maryland, the defendants,
STEPHEN L. FRANKLIN and DUANE G. LARMORE

for the purpose of executing the scheme and artifice to defraud, transmitted and caused to be
transmitted in interstate and foreign commerce, sounds, writings, signs and symbols, namely a
wire transfer of $300,000 from the account ending in ***0454 of East Coast Optometric, Bank
of America, Salisbury, Maryland, to the account ending in ***8989 of Getesi Trading Co., Ltd.,
65 Des Vouex Road, Central Hong Kong at DBS Bank (Hong Kong) Limited, 11/F, The Center
99 Queen's Road Ce, Hong Kong Island, Hong Kong, to make an investment without the

knowledge or approval of the owners of Shore Appliance.

18 U.S.C. §§ 2, 1343

10
Case 1:21-cr-00328-DKC Document 1-1 Filed 08/24/21 Page 11 of 16

COUNT SIX

The Grand Jury for the District of Maryland further charges:

L, The allegations of Count One, Paragraphs 1-7 and 9-19 are incorporated by
reference.

2. On or about November 9, 2016, in the District of Maryland, the defendants,

STEPHEN L. FRANKLIN and DUANE G. LARMORE

for the purpose of executing the scheme and artifice to defraud, transmitted and caused to be
transmitted in interstate commerce, sounds, writings, signs and symbols, namely FRANKLIN,

on Wednesday, November 9, 2016, at 9:53 pm using his sfranklin.ceo@gmail.com account,

returned to LARMORE through interstate email, the purported contract between PowerUp
Lending Group, Ltd, and Shore Appliance with forged signatures of Owner #1 and Owner #2
including their signatures on the Affidavits of Confession of Judgment, which signatures were

forged and were falsely notarized by FRANKLIN as signed and sworn in his presence.

18 U.S.C. § § 2, 1343

1]
Case 1:21-cr-00328-DKC Document 1-1 Filed 08/24/21 Page 12 of 16

COUNT SEVEN

The Grand Jury for the District of Maryland further charges:

l. The allegations of Count One, Paragraphs 1-7 and 9-19 are incorporated by
reference.

2. On or about November 15, 2017, in the District of Maryland, the defendants,
STEPHEN L. FRANKLIN and DUANE G. LARMORE

for the purpose of executing the scheme and artifice to defraud, transmitted and caused to be
transmitted in interstate commerce, sounds, writings, signs and symbols, namely a cellular
telephone call between Employee #1 of Accurate Optical in Salisbury, Maryland, posing as
Owner #2, and a representative of Itria Ventures, a factoring company, confirming a purported
agreement between Shore Appliance, Owner #2, and Itria Ventures, New York, New York, for
Itria Ventures to provide in excess of $500,000 to, or for the prior factoring debts of, Shore

Appliance, without the knowledge or approval of the owners of Shore Appliance.

18 U.S.C. §§ 2, 1343

12
Case 1:21-cr-00328-DKC Document 1-1 Filed 08/24/21 Page 13 of 16

COUNT EIGHT

The Grand Jury for the District of Maryland further charges:

1. The allegations of Count One, Paragraphs 1-7 and 9-19 are incorporated by
reference.

2. On or about October 23, 2018, in the District of Maryland, the defendants,
STEPHEN L. FRANKLIN and DUANE G. LARMORE

for the purpose of executing the scheme and artifice to defraud, transmitted and caused to be
transmitted in interstate commerce, sounds, writings, signs and symbols, namely a cellular
telephone call between Employee #1 of Accurate Optical in Salisbury, Maryland, posing as
Owner #2 of Shore Appliance, and a representative of Itria Ventures, a factoring company,
confirming a purported agreement between Shore Appliance, Owner #2, and Itria Ventures, New
York, New York, for Itria Ventures to provide in excess of $500,000 to, or for the prior factoring
debts of, Shore Appliance, without the knowledge or approval of the owners of Shore

Appliance.

18 U.S.C. §§ 2, 1343
Case 1:21-cr-00328-DKC Document 1-1 Filed 08/24/21 Page 14 of 16

COUNTS NINE & TEN

The Grand Jury for the District of Maryland further charges:

l. The allegations of Count One, Paragraphs 1-7 and 9-19 are incorporated by
reference.
2. On or about the dates set forth below, in the District of Maryland and elsewhere,

the Defendants,

STEPHEN L. FRANKLIN and DUANE G. LARMORE
did knowingly use, and cause the use without lawful authority, of a means of identification of
another person; that is, FRANKLIN and LARMORE caused Accurate Optical Employee #1 to
use the personal identifying information of Owner #2 of Shore Appliance, during and in relation

to Wire Fraud, 18 U.S.C. § 1343:

Count Date Use of Identity Personal Identifying
Information
¥ November | By Accurate Optical Employee No. | ina Name of Owner #2
15, 2017 telephone call with an Itria Ventures

Representative to confirm a "future
receivables sales" agreement between Shore
Appliance and Itria Ventures as described in
Count Seven

10 October 23, | By Accurate Optical Employee No. | ina Name of Owner #2
2018 telephone call with an Itria Ventures
Representative to confirm a "future
receivables sales" agreement between Shore
Appliance and Itria Ventures as described in
Count Eight

18 U.S.C. § § 2, 1028(a)(1), (c)(4)

14
Case 1:21-cr-00328-DKC Document 1-1 Filed 08/24/21 Page 15 of 16

FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

i. Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the defendants
that the United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C.
§ 981(a)(1)(C), 21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c), in the event of a defendant’s
conviction of any of the offenses charged in Counts One — Eight.

2. Upon conviction of any of the offenses set forth in Counts One — Eight of this
Indictment, the defendants,

STEPHEN L. FRANKLIN and DUANE G. LARMORE,

shall forfeit to the United States any property, real or personal, which constitutes or is derived from
proceeds traceable to the offenses.

Je The property to be forfeited includes, but is not limited to, a money judgment in the

amount of proceeds each defendant obtained as the result of his offenses of conviction.

Substitute Assets
4. If any of the property described above, as a result of any act or omission of the
defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
ei has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided without

difficulty,

1S
Case 1:21-cr-00328-DKC Document 1-1 Filed 08/24/21 Page 16 of 16

the United States shall be entitled to forfeiture of substitute property pursuant to 21 U.S.C.

§ 853(p), as incorporated by 28 U.S.C. § 2461(c).

18 U.S.C. § 981(a)(1)(C): 21 U.S.C. § 853(p); 28 U.S.C. § 2461(c)

Qeathan ob. Laman
nathan F. Lenzner gicmect—

Acting United States Attorney

ATRUE BILL: .

SIGNATURE REDACTED $/AY/A0 A |

Fofepersdr” ~ Date

16
